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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

                                                          :
Jerry Moore, Yuriy Golonko, Nicole Pass,                  :
                                                             Civil Action No.: ____________
Sonya Dewberry, Dorothy Jackson, Anthony                  :
Osborn and Dwain Jones,                                   :
                                                          :
                              Plaintiffs,                 :
vs.                                                       :
                                                            COMPLAINT
                                                          :
                                                            JURY TRIAL DEMANDED
                                                          :
BMW of North America, LLC and Bavarian                    :
Motor Works,                                              :
                                                          :
                              Defendants.                 :
                                                          :


       For this Complaint, the Plaintiffs* Jerry Moore, Yuriy Golonko, Nicole Pass,
Sonya Dewberry, Dorothy Jackson, Anthony Osborn and Dwain Jones, by undersigned
counsel, state as follows:
                             PRELIMINARY STATEMENT

1.          This is a group action by the purchasers of vehicles (hereafter the “subject vehicles”)
            manufactured and sold by the Defendants BMW of North America, LLC and Bavarian
            Motor Works. Plaintiffs seek damages related to their vehicles’ excessive
            consumption of engine oil and Defendants’ failure to honor the terms of their
            warranty.

2.          The Plaintiffs would not have purchased the subject vehicles had they been made
            aware of the subject vehicles’ defective engines.

                                        JURISDICTION AND VENUE

3.          This Court has jurisdiction over this matter pursuant to the Magnuson-Moss Federal
            Act, 15 U.S.C. § 2310(d)(1)(B), in that the Plaintiffs claim more than $50,000.00 in
            damages, exclusive of interest and costs, and under the doctrine of supplemental
            jurisdiction as set forth in 28 U.S.C. § 1367.

4.          Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(1) as Defendants
            are subject to personal jurisdiction in this District and where Defendants, as principals,
            direct and control warranty repairs on covered vehicles through its agents consisting of
            a dealership network located in this District.

*
    Additional Plaintiffs may be added at a later date.
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5.         Further, venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(2) in that a
           substantial part of the events giving rise to the Plaintiffs’ claims occurred within this
           District.

                                              PARTIES

6.         Plaintiffs were, at all relevant times, adult individuals who either reside in Georgia or
           who purchased motor vehicles in Georgia which were manufactured or sold by
           Defendants.

7.         Defendant BMW of North America, LLC (“BMW-NA”) is organized under the laws
           of Delaware with its principal place of business located at 300 Chestnut Ridge Road,
           Woodcliff, New Jersey. BMW-NA was created in 1975 to act as the United States
           importer of BMW luxury and performance vehicles, which were traditionally
           manufactured in Munich, Germany. At all relevant times, BMW was engaged in the
           business of importing, assembling, marketing, distributing, and warranting BMW
           automobiles in the State of Massachusetts and throughout the United States.

8.         Defendant Bavarian Motor Works (“BMW-GER”) is a corporation organized and
           existing under the laws of Germany, with its principal place of business located in
           Munich, Bavaria, Germany. BMW-GER is the parent corporation of BMW of North
           America, LLC.

9.         BMW-NA and BMW-GER sell BMW vehicles through a network of independently
           owned dealerships across the United States that are agents of BMW-NA and BMW-
           GER.

          FACTUAL ALLEGATIONS APPLICABLE TO INDIVIDUAL PLAINTIFFS
     I.    Jerry Moore

10.        Plaintiff Jerry Moore (hereafter “J. Moore”) is an adult individual residing in Marietta,
           Georgia.

11.        On or about July 27, 2013, J. Moore purchased a used 2011 BMW 750i, Vehicle
           Identification Number WBAKA8C54BCY37313 (hereafter the “J. Moore Vehicle”)
           from Tom Bush Regency Motors in Jacksonville, Florida, an authorized dealer of the
           Defendants.

12.        Soon after purchasing the J. Moore Vehicle, J. Moore observed that it consumed an
           excessive amount of engine oil which initially required him to add one quart of oil
           every 1,600 miles, well before the Defendants’ recommended oil change intervals.

13.        On December 15, 2013, J. Moore notified an authorized dealer of the Defendants that
           said vehicle consumed an excessive amount of engine oil.




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14.    In response, J. Moore was told there was an oil leak and the BMW dealer purported to
       repair the leak. However, the J. Moore Vehicle’s oil consumption grew progressively
       worse.

15.    On or about March 10, 2015, BMW dealer performed a “N63 Customer Care
       Package” and replaced vacuum pump and all injectors in the J. Moore Vehicle.

16.    However, the J. Moore Vehicle continued to consume excessive amount of oil and
       required J. Moore to add one quart of oil every 1,000 miles, well before the
       Defendants’ recommended oil change intervals.

17.    J. Moore notified an authorized dealer of the Defendants during the warranty period
       that the J. Moore Vehicle continued to consume an excessive amount of engine oil.

18.    In response, J. Moore was told the oil consumption was normal: “that’s just how
       BMW’s are – you’ll always need oil in between services.”

19.    As a result of the J. Moore Vehicle’s excessive consumption of engine oil, J. Moore
       consistently had to add engine oil to the J. Moore Vehicle in between the Defendants’
       recommended oil change intervals in an effort to prevent the vehicle’s engine from
       failing.

 II.   Yuriy Golonko

20.    Plaintiff Yuriy Golonko (hereafter “Y. Golonko”) is an adult individual residing in
       Everett, Washington.

21.    On or about September 18, 2013, Y. Golonko purchased a used 2011 BMW X6,
       Vehicle Identification Number 5UXFG8C55BLZ95211 (hereafter the “Y. Golonko
       Vehicle”) from Select Luxury Cars in Marietta, Georgia.

22.    Within a year after purchasing the Y. Golonko Vehicle, Y. Golonko observed that it
       consumed an excessive amount of engine oil which initially required him to add two
       quarts of oil every 1,000 miles, well before the Defendants’ recommended oil change
       intervals.

23.    Y. Golonko notified an authorized dealer of the Defendants throughout the warranty
       period that the Y. Golonko Vehicle consumed an excessive amount of engine oil.
       However, no repair or solution to the oil consumption issue was offered.

24.    After Y. Golonko made numerous complaints to an authorized dealer, in 2015 the
       Defendants provided Y. Golonko with the BMW Customer Care Package. The
       Customer Care Package consisted of several different measures which masked, but did
       not correct, the Y. Golonko Vehicle’s oil consumption defect.

25.    Since receipt of the Customer Care Package, Y. Golonko adds two quarts of oil every
       2,500 miles, still well before the Defendants’ recommended oil change intervals.


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26.    As a result of the Y. Golonko Vehicle’s excessive consumption of engine oil, Y.
       Golonko had to add engine oil to the Y. Golonko Vehicle in between the Defendants’
       recommended oil change intervals in an effort to prevent the vehicle’s engine from
       failing.

III.   Nicole Pass

27.    Plaintiff Nicole Pass (hereafter “N. Pass”) is an adult individual residing in Smryna,
       Georgia.

28.    On or about September 19, 2013, N. Pass purchased a used 2011 BMW 750li, Vehicle
       Identification Number WBAKB8C52BC852101 (hereafter the “N. Pass Vehicle”)
       from Global Imports BMW in Atlanta, Georgia, an authorized dealer of the
       Defendants.

29.    During the first year after purchasing the N. Pass Vehicle, N. Pass observed that it
       consumed an excessive amount of engine oil which initially required her to add one
       quart of oil every 2,500 to 2,800 miles, well before the Defendants’ recommended oil
       change intervals.

30.    On November 8, 2013, N. Pass notified an authorized dealer of the Defendants that
       said vehicle smoked and oil light kept coming on. In response, the BMW dealer told
       N. Pass there was a fuel injector leak and that it repaired the leak. However, the N.
       Pass Vehicle continued to consume excessive amount of oil.

31.    On June 13, 2014, N. Pass notified an authorized dealer of the Defendants that said
       vehicle was losing oil. In response, the BMW dealer replaced a vacuum pump.

32.    On June 13, 2014, N. Pass notified an authorized dealer of the Defendants that said
       vehicle continued to lose oil. In response, the BMW dealer replaced a oil sump
       gasket.

33.    On July 8, 2015, the BMW dealer implemented the BMW Customer Care Package on
       N. Pass Vehicle and reprogrammed its oil service intervals from 15,000 miles to
       10,000 miles.

34.    On September 17, 2015, N. Pass notified an authorized dealer of the Defendants that
       N. Pass Vehicle oil light was on and N. Pass still continued to constantly add oil to the
       vehicle’s engine. In response, the BMW dealer performed an oil change.

35.    On February 8, 2018, N. Pass notified an authorized dealer of the Defendants that said
       vehicle still appeared to be losing oil. In response, the BMW dealer dealer performed
       an oil change.

36.    Furthermore, throughout the warranty period and in the course of numerous visits to
       an authorized dealer of the Defendants N. Pass notified such dealer that the N. Pass
       Vehicle consumed an excessive amount of engine oil.


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37.   In response, N. Pass was told the oil consumption was normal, and accordingly, N.
      Pass was told the vehicle’s consumption of engine oil did not warrant any repairs.

38.   As a result of the N. Pass Vehicle’s excessive consumption of engine oil, N. Pass had
      to add engine oil to the N. Pass Vehicle in between the Defendants’ recommended oil
      change intervals in an effort to prevent the vehicle’s engine from failing.

IV.   Sonya Dewberry

39.   Plaintiff Sonya Dewberry (hereafter “S. Dewberry”) is an adult individual residing in
      Griffin, Georgia.

40.   On or about March 21, 2013, S. Dewberry purchased a used 2010 BMW 750LXi,
      Vehicle Identification Number WBAKC8C56ACY68264 (hereafter the “S. Dewberry
      Vehicle”) from a dealer in Stockbridge, Georgia.

41.   Within two months after purchasing the S. Dewberry Vehicle, S. Dewberry observed
      that it consumed an excessive amount of engine oil which initially required her to add
      one quart of oil every 300 miles, well before the Defendants’ recommended oil change
      intervals.

42.   S. Dewberry notified an authorized dealer of the Defendants on many occasions
      throughout the warranty period that the S. Dewberry Vehicle consumed an excessive
      amount of engine oil.

43.   In response, S. Dewberry was told to just “put in extra oil,” and no repair was offered.

44.   Further, on July 19, 2015, the BMW dealer implemented the BMW Customer Care
      Package on S. Dewberry Vehicle and reprogrammed its oil service intervals.

45.   As a result of the S. Dewberry Vehicle’s excessive consumption of engine oil, S.
      Dewberry had to add engine oil to the S. Dewberry Vehicle in between the
      Defendants’ recommended oil change intervals in an effort to prevent the vehicle’s
      engine from failing.

 V.   Dorothy Jackson

46.   Plaintiff Dorothy Jackson (hereafter “D. Jackson”) is an adult individual residing in
      Warner Robins, Georgia.

47.   On or about September 28, 2013, D. Jackson purchased a used 2011 BMW 550i,
      Vehicle Identification Number WBAFR9C58BC618032 (hereafter the “D. Jackson
      Vehicle”) from BMW of Macon in Macon, Georgia, an authorized dealer of
      Defendants.

48.   Within a few months after purchasing the D. Jackson Vehicle, D. Jackson observed
      that it consumed an excessive amount of engine oil which required her to add one


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       quart of oil every 1,000 miles or less, well before the Defendants’ recommended oil
       change intervals.

49.    D. Jackson notified an authorized dealer of the Defendants throughout the warranty
       period that the D. Jackson Vehicle consumed an excessive amount of engine oil.

50.    In response, D. Jackson was told “turbo charge engines burn a lot of oil,” and
       accordingly, D. Jackson was told the vehicle’s consumption of engine oil did not
       warrant any repairs.

51.    As a result of the D. Jackson Vehicle’s excessive consumption of engine oil, D.
       Jackson had to add engine oil to the D. Jackson Vehicle in between the Defendants’
       recommended oil change intervals in an effort to prevent the vehicle’s engine from
       failing.

VI.    Anthony Osborn

52.    Plaintiff Anthony Osborn (hereafter “A. Osborn”) is an adult individual residing in
       Atlanta, Georgia.

53.    In 2014, A. Osborn purchased a used 2011 BMW X6 XDrive 50i, Vehicle
       Identification Number 5UXFG8C56BLZ95864 (hereafter the “A. Osborn Vehicle”)
       from Global Imports BMW in Atlanta, Georgia, an authorized dealer of the
       Defendants.

54.    Shortly after purchasing the A. Osborn Vehicle, A. Osborn observed that it consumed
       an excessive amount of engine oil which required him to add two quarts of oil every
       3,000 miles, well before the Defendants’ recommended oil change intervals.

55.    A. Osborn notified an authorized dealer of the Defendants throughout the warranty
       period that the A. Osborn Vehicle consumed an excessive amount of engine oil.

56.    In response, A. Osborn was told usually this is not an issue with BMW 6 series
       vehicles, this was just his car and that was an anomaly. Accordingly, A. Osborn was
       told the vehicle’s consumption of engine oil did not warrant any repairs.

57.    As a result of the A. Osborn Vehicle’s excessive consumption of engine oil, A. Osborn
       had to add engine oil to the A. Osborn Vehicle in between the Defendants’
       recommended oil change intervals in an effort to prevent the vehicle’s engine from
       failing.

VII.   Dwain Jones

58.    Plaintiff Dwain Jones (hereafter “D. Jones”) is an adult individual residing in Winston
       Salem, North Carolina.




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59.   On or about October 25, 2016, D. Jones purchased a used 2013 BMW X5 XDrive 50i,
      Vehicle Identification Number WBA6B2C58DD128179 (hereafter the “D. Jones
      Vehicle”) from Atlanta Autos in Marietta, Georgia.

60.   Within a few months after purchasing the D. Jones Vehicle, D. Jones observed that it
      consumed an excessive amount of engine oil which required him to add one quart of
      oil every 2,000 miles, well before the Defendants’ recommended oil change intervals.

61.   D. Jones notified an authorized dealer of the Defendants during the warranty period
      that the D. Jones Vehicle consumed an excessive amount of engine oil.

62.   In response, D. Jones was told “this is typical of these cars,” and accordingly, no
      repair was offered to D. Jones for the vehicle’s consumption of engine oil.

63.   As a result of the D. Jones Vehicle’s excessive consumption of engine oil, D. Jones
      had to add engine oil to the D. Jones Vehicle in between the Defendants’
      recommended oil change intervals in an effort to prevent the vehicle’s engine from
      failing.

         FACTUAL ALLEGATIONS APPLICABLE TO ALL PLAINTIFFS

64.   Defendants manufactured and placed into the stream of commerce each of the
      aforementioned vehicles (the subject vehicles), which the Plaintiffs subsequently
      purchased.

65.   At the time Plaintiffs purchased the subject vehicles, Defendants made representations
      as to the subject vehicles’ performance and quality and assured the Plaintiffs that the
      subject vehicles were free from defects of workmanship.

66.   Thereafter, Plaintiffs discovered that, unbeknownst to them, the subject vehicles’
      engines contain a manufacturing defect which causes each of the subject vehicles to
      consume engine oil at an extremely rapid rate.

67.   Moreover, Plaintiffs discovered that as a result of the subject vehicles’ above-
      described defect, Plaintiffs were required to regularly add additional engine oil to their
      vehicles in between the Defendants’ recommended oil change intervals in order to
      prevent their vehicles’ engines from failing and suffering from other related damage.

68.   In 2008, BMW introduced a new V8, twin-turbocharged engine, which BMW and
      enthusiasts refer to as the “N63.” This large, high-performance engine was designed
      to be BMW’s next generation V8 and was placed in certain BMW 5 Series, 6 Series, 7
      Series, X5, and X6 vehicles from the 2009 through 2014 model years.

69.   Upon information and belief, the N63 engine was included on the V8 versions of the
      following BMW vehicles:

             F01 and F02 (7 Series Sedan) – produced from 3/2009 to 6/2012
             F04 (Active Hybrid 7) – produced from 4/2010 to 6/2012

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             F07 (Gran Turismo) – produced from 9/2009 to 6/2012
             F10 (5 Series Sedan) – produced from 3/2010 to 7/2013
             F12 (6 Series Convertible) – produced from 3/2011 to 7/2012
             F13 (6 Series Coupe) – produced from 7/2011 to 7/2012
             E70 (X5) – produced from 3/2010 to 6/2013
             E71 (X6) – produced from 7/2008 to 6/2014
             E72 (ActiveHybrid X6) – produced from 9/2009 to 9/2011

70.   The subject vehicles are all equipped with the N63 engine.

71.   The N63 has become widely known and described as defective throughout the
      automotive industry and the BMW-enthusiast community. It is widely recognized that
      N63 engines consume excessive amounts of engine oil and require frequent engine
      repairs, especially as compared to other, similar vehicles not containing N63 engines.

72.   Some owners and enthusiasts blame the oil consumption on BMW’s decision to place
      the N63’s twin-turbochargers between the cylinder heads, and inside of the engine V,
      rather than outside of the engine V, away from sensitive components, where
      turbochargers are typically located.

73.   N63 vehicles are notorious for consuming excessive amounts of engine oil and
      frequently need additional engine oil between scheduled oil changes to prevent
      catastrophic engine damage or failure.

74.   The oil consumption defect was particularly apparent in a recent Consumer Reports
      study on excessive oil consumption. Consumer Reports studied 498,900 vehicles
      across several makes and models for complaints about engine oil consumption and
      concluded that BMW’s N63 engine was included on four out of the five most
      defective vehicles. (http://www.consumerreports.org/cro/magazine/2015/06/excessive-
      oil-consumption/index.htm.)

75.   The V8 version of the BMW 5 Series, which contained the N63 engine in 2011, 2012,
      and 2013 model years, was the worst performer in the study with 43 percent of
      vehicles needing an additional quart of oil between oil changes as of 2015. BMW’s 6
      Series and 7 Series, many of which contained the N63 engine, are the next worst
      performers. Finally, the V8 version of the X5 was the fifth worst performer in the
      study.

76.   The Consumer Reports study also shows that a greater percentage of defective models
      start to consume oil as they age. This means that large numbers of N63 owners will
      begin to experience the oil consumption defect in the near future if they have not
      already.

77.   Many purchasers of vehicles containing the N63 engine have become upset about the
      excessive engine oil consumption – which was not disclosed by BMW in the product
      literature – and have posted internet complaints about specific frustrations and hassles
      caused by the oil consumption defect.

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78.    For example, one N63 purchaser started a thread entitled, “Excessive oil consumption”
       on a BMW enthusiast website in November 2011:

               So I’m starting to get a little irritated at how much oil my 550 is
               burning. In the last 6k I’ve had to add 1 quart of oil three times. In
               other words it is burning a quart every 2000 miles. I’ve read about
               some people posting about having to add oil before but this
               much?? I’ve never owned a new car that burned any oil much less
               at this rate. Anyone else having this issue? Oh btw the car has
               9120 miles and I put 3100 in Europe during my ED. When I was
               to have redelivery I had the dealer do an oil change and was gonna
               change the oil every 7.5k.
       (http://www.bimmerfest.com/forums/showthread.php?t=581072.)

79.    A fellow BMW enthusiast responded with four separate links about the oil
       consumption issue and explained that the defect “was a hot topic back in September”
       2011. (Id.)

80.    An Internet search of “N63 AND Burning Oil” reveals thousands of similar
       complaints regarding the oil consumption defect.†

81.    BMW had a duty to disclose the oil consumption defect and the associated out-of-
       pocket repair costs since the defect poses an unreasonable safety hazard, and because
       BMW had exclusive knowledge or access to material facts about N63 vehicles and
       engines, not known or reasonably discoverable by consumers. Defendants, however,
       failed to disclose the defect to consumers prior to or at the time of purchase or lease.

82.    The oil consumption defect has become so problematic that BMW has issued several
       technical service bulletins (“TSBs”) to address complaints of excessive oil
       consumption and other problems related to the N63 engine.‡

83.    With regard to the oil consumption issue, BMW issued the following TSBs:

               NHTSA ID Number: 10046859
               Service Bulletin Number: SIB-11-08-12
               Summary: DUE TO DAMAGED SEAL RING, DURING
               ASSEMBLY, ENGINE OIL IS LEAKING FROM ENGINE OIL
               PUMP VOLUME CONTROL VALVE GASKET SEAL RING.
               MODELS E70, E71, F01, F02, F04, F07, F10, F12, F13. NO MODEL
               YEARS LISTED.
               ______________________________________________________

†
  See, e.g., http://www.bimmerfest.com/forums/showthread.php?t=581072 (last visited Mar. 21, 2016);
http://www.e90post.com/forums/showthread.php?t=874786 (last visited Mar. 21, 2016).
‡
  TSBs are recommended repairs issued by automotive manufacturers and directed only to automotive
dealers. TSBs are frequently issued when a manufacturer receives widespread reports of a particular
problem with its vehicles.
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             NHTSA ID Number: 10045282
             Service Bulletin Number: SIB-11-07-12
             Summary: BMW: WHILE DRIVING VEHICLE, AT TIMES
             WOULD BE ROUGH RUNNING; WHITE OR BLUE SMOKE
             SEEN EXITING EXHAUST SYSTEM AND THE ENGINE OIL IS
             CONSUMED ABOVE SPECIFICATIONS.

84.   In June 2013, BMW issued SIB-11-01-13, which took the extraordinary step of
      changing engine oil consumption specifications for N63 vehicles, and specifically
      instructed service technicians to add two quarts of engine oil to N63 vehicles when the
      vehicles instruct owners to add only one additional quart of oil.
      (http://www.xbimmers.com/forums/showthread.php?p=14449679.)

85.   Instead of addressing the underlying cause of excessive oil consumption in order to
      attempt to fix the defect, BMW recommended that its service technicians simply add
      more engine oil to respond to consumer complaints. Technicians were instructed to
      add two quarts of engine oil when the vehicles electronic system specifically called for
      one additional quart and to also add an additional quart as the default fill on N63
      vehicles. While BMW did not address the underlying problem, it likely reduced the
      number of complaints because the engine oil level in the subject vehicles would now
      be overfilled, a condition that can cause the engine oil to become aeriated, resulting in
      potential oil starvation and reduced oil pressure.

86.   Technical Service Bulletin SIB-11-03-13 appears to be part of a campaign to conceal
      the oil consumption defect and represent it as a normal feature of BMW vehicles. To
      this effect, BMW issued SIB-11-03-13, which upon information and belief includes
      the following:

             Service Bulletin Number: SIB-11-03-13

             Summary: All engines normally consume a certain amount of engine
             oil. This is necessary in order to properly lubricate the cylinder walls,
             pistons, piston rings, valves and turbocharger(s), if equipped. In
             addition, engines with less than 6,000 miles will generally consume
             additional engine oil because the internal engine components are not
             fully seated (break-in). Therefore, engine oil consumption complaints
             received prior to 6,000 miles cannot be considered.

             Once a new or remanufactured engine has accumulated 6,000 miles,
             oil consumption can be considered if there is a drastic change in the
             engine oil consumption rate (e.g., the engine oil consumption rate
             triples) under similar driving conditions.

             Engines equipped with a turbocharger(s) will consume more engine oil
             than normally aspirated engines (non-turbocharged). The additional oil
             that is consumed in a turbocharged engine is mainly due to the
             turbocharger lubrication requirements. Some of the engine oil

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             normally migrates past the turbocharger turbine bearing seals and will
             enter the intake tract of the engine.

             All turbocharged engines also require a complex crankcase ventilation
             system. The crankcase ventilation system needs to maintain a small
             vacuum on the crankcase and not allow the crankcase to be
             pressurized. Pressurizing the engine crankcase can lead to external
             engine oil leaks and increased engine oil consumption via the piston
             rings and valve seals. When the load and the boost level of a
             turbocharged engine is varied, the path of the crankcase pressure is
             changed. During the crankcase ventilation path transition, a small
             amount of engine oil will pass through the crankcase ventilation
             system and is additionally consumed. The additional engine oil
             consumption of a turbocharged engine, as compared to a normally
             aspirated engine, is normal and not a defect.

             Oil Consumption specification:
             - All BMW engines (excluding Motorsport) can consume up to 1 quart
             of engine oil per 750 miles at any time.

             - Due to the increased engine power, all Motorsport engines can
             consume up to 2.5 quarts of engine oil per 1,000 miles at any time.

             Turbocharged Engines:
             Engines that are fitted with a turbocharger(s) will consume more
             engine oil than naturally aspirated engines (non-turbocharged
             engines). In this case, a turbocharged engine could require topping of
             engine oil more frequently. For vehicles with N63 and N63T engines,
             refer to SIB-11-03-13 for additional details.

87.   BMW included every conceivable driving situation within this Service Bulletin as a
      factor for engine oil consumption so as to minimize their own responsibility and/or
      deflect blame onto consumers for the oil consumption defect. As can be seen from the
      TSBs, Defendants continued to misrepresent to their customers that the rate of oil
      consumption in the N63 engines was normal and to be expected in engines that are
      fitted with turbochargers.

88.   BMW made these representations notwithstanding that the stated recommended oil
      service interval at the time of sale of the subject vehicles was the earlier of 15,000
      miles or two years. Of course, at the rate of engine oil consumption referred to in
      BMW’s service bulletin, the N63 vehicles would consume nearly 20 quarts of engine
      oil between the recommended 15,000-mile oil service intervals. Clearly, there is
      nothing normal or expected about this rate of oil consumption.




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89.   Many N63 purchasers and automobile consumer advocates disagree that this level of
      engine oil consumption is normal and instead believe that it is excessive and well
      beyond normal.

90.   Consumer Reports offered its opinion of excessive oil consumption in the subtitle of
      its article: Excessive oil consumption isn’t normal: Automakers say adding oil between
      scheduled changes is acceptable. It’s not.
      (http://www.consumerreports.org/cro/magazine/2015/06/excessive-oil-
      consumption/index.htm.)

91.   Following hundreds of customer complaints about the oil consumption defect and
      other problems with N63 vehicles, BMW launched the “N63 Customer Care Package”
      (bulletin B001314) on December 29, 2014 (herein, “Customer Care Package”). The
      Customer Care Package consisted of several different measures, which merely mask,
      but do not correct, the serious design and/or manufacturing defects of the N63 engine
      including the oil consumption defect.

92.   The Customer Care Package instructed service representatives to check each covered
      vehicle’s timing chain, fuel injectors, mass air flow sensors, crankcase vent lines,
      battery, engine vacuum pump, and low pressure fuel sensor, and replace if necessary.
      BMW instructed its service representatives to inspect and replace these components
      for free, even if no longer covered by the manufacturer’s standard four-year/50,000
      mile warranty.

93.   Also, BMW had long emphasized the fact that its vehicles can go long periods without
      service and sold many N63 vehicles with the promise of a two-year or 15,000 mile
      service interval. The Customer Care Package significantly reduced the mileage of its
      recommended engine oil change intervals for the subject vehicles. As a result, BMW
      reduced the oil change intervals from the earlier of 15,000/two years to the earlier of
      10,000 miles or one year.

94.   BMW simultaneously launched the “N63 Customer Loyalty Offer” which offered
      purchasers discounts on new BMW vehicles to replace their defective N63 vehicles.

95.   BMW also launched a related “N63 Customer Appreciation Program,” which
      authorized dealerships to provide purchasers with up to $50 of BMW merchandise or
      accessories.

96.   Engine oil is important because it functions as an essential lubricant for the moving
      parts in internal combustion engines. The oil creates a film separating surfaces of
      adjacent moving parts to minimize direct contact, thereby decreasing heat caused by
      friction and reducing wear. Engine oil also has important cleaning and sealing
      functions, and serves as an important medium for dissipating heat throughout the
      engine. As a result, the subject vehicles need the proper amount of engine oil in order
      for the engine and its related parts to function safely.

97.   As suggested by the N63 Customer Care Package, upon information and belief, the oil
      consumption defect impacts several components of N63 vehicles, either via
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       combustion of excessive amounts of engine oil directly or by causing these
       components a lack of appropriate lubrication, which results in these components to
       prematurely fail and need frequent replacement.

98.    The oil consumption defect is a safety concern because it prevents the engine from
       maintaining the proper level of engine oil, and causes voluminous oil consumption
       that cannot be reasonably anticipated or predicted. Therefore, this oil consumption
       defect is unreasonably dangerous because it can cause engine failure while the subject
       vehicles are in operation at any time and under any driving conditions or speeds,
       thereby exposing the Plaintiffs, their passengers, and others who share the road with
       them to serious risk of accidents and injury.

99.    Plaintiffs are informed and believe, and based thereon allege that BMW acquired its
       knowledge of the oil consumption defect in 2008, if not before, through sources not
       available to Plaintiffs, including but not limited to pre-release testing data, durability
       testing, early consumer complaints about the oil consumption defect to Defendants and
       their dealers, testing conducted in response to those complaints, aggregate data from
       BMW dealers, including dealer repair orders and high warranty reimbursement rates,
       as well as, from other internal sources.

100.   Defendants had a duty to disclose the oil consumption defect and the associated out-
       of-pocket repair costs to Plaintiffs because the defect poses an unreasonable safety
       hazard, and because Defendants had exclusive knowledge or access to material facts
       about the subject vehicles that were not known or reasonably discoverable by the
       Plaintiffs. Defendants, however, failed to disclose the Oil Consumption Defect to
       consumers prior to or at the time of purchase or lease.

101.   The oil consumption defect can be and has been enormously consequential to
       Plaintiffs, burdening them with out-of-pocket expenses that would not be necessary
       but for such defect and depriving them of their original bargains. First, excessive
       engine oil consumption requires additional service visits and increased maintenance
       costs due to the recently decreased oil change intervals, which the Plaintiffs
       specifically sought to avoid by purchasing high-end BMW vehicles. Second, the oil
       consumption defect means that Plaintiffs must be concerned with obtaining BMW-
       approved engine oil when needed. If Plaintiffs continue to drive without adding oil,
       their vehicles might catastrophically fail and strand them or potentially cause a life-
       threatening accident. This discourages Plaintiffs from traveling long distances in their
       N63 vehicles or forces them to carry an extra supply of oil. Third, Plaintiffs will
       suffer significant loss when they sell the subject vehicles because the reputation of
       these vehicles has been impaired by now-public research establishing that these
       vehicles suffer from the oil consumption defect.

102.   Plaintiffs each provided Defendants or one or more of its authorized dealers with an
       opportunity to repair the problems with the subject vehicles. The Defendants have
       neglected, failed, refused or otherwise been unable to repair the substantial
       impairments to the subject vehicles within a reasonable amount of time or a reasonable
       number of attempts.

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103.   The oil consumption defect experienced by the Plaintiffs substantially impairs the use,
       value and safety of the subject vehicles to the Plaintiffs.

104.   The Plaintiffs could not reasonably have discovered said nonconformities with the
       subject vehicles prior to Plaintiffs’ acceptance of the vehicles.

105.   The Plaintiffs would not have purchased the subject vehicles had they known, prior to
       the respective times of purchase, that they would be required to regularly purchase and
       add large volumes of engine oil to the subject vehicles in order to prevent the subject
       vehicles’ engines from failing.

                      FRAUDULENT CONCEALMENT TOLLING

106.   Plaintiffs did not and could not have known that there was an oil consumption defect
       with the subject vehicles’ respective engines at the time that they purchased the
       subject vehicles or any time thereafter.

107.   The breach of warranties four-year statute of limitations, which might otherwise apply
       to bar some of the Plaintiffs’ claims, should be tolled because of Defendants’ knowing
       and active concealment of the fact that the subject vehicles’ engines contain a defect.

108.   While Defendants issued TSB’s making clear they were aware that there was a defect
       with the subject vehicles’ engines, Defendants failed to disclose the existence of the
       defect to Plaintiffs.

109.   Moreover, Defendants’ authorized dealerships informed some or all of the Plaintiffs
       that the subject vehicles’ excessive consumption of engine oil was normal, rather than
       the result of a defect.

110.   Defendants kept Plaintiffs ignorant of vital information essential to the pursuit of their
       claims.

111.   Defendants knowingly, affirmatively, and actively concealed the subject vehicles’
       defect from the Plaintiffs.

112.   Defendants were aware of the defect with the subject vehicles.

113.   Based upon the foregoing, Defendants are estopped from relying on any statutes of
       limitations in defense of this action.

                             FIRST CAUSE OF ACTION
                  Breach of Warranty Pursuant to the Magnuson-Moss
                         Warranty Act, 15 U.S.C. §2301, et seq.

114.   The Plaintiffs incorporate by reference all of the above paragraphs of this Complaint
       as though fully stated herein.

115.   The Plaintiffs are each a “consumer” as defined in 15 U.S.C. § 2301(3).

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116.   Defendants are each a “supplier” and “warrantor” as defined in 15 U.S.C. § 2301(4)
       and (5).

117.   The subject vehicles are each a “consumer product” as defined in 15 U.S.C. § 2301(6).
       15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who is damaged
       by the failure of a warrantor to comply with a written or implied warranty.

118.   15 U.S.C. § 2304(a)(1) requires Defendants, as warrantors, to remedy any defect,
       malfunction or nonconformance of the subject vehicles within a reasonable time and
       without charge to the Plaintiffs.

119.   Despite repeated demands, Defendants have failed to remedy the subject vehicles’ oil
       consumption defect within a reasonable time, and/or a reasonable number of attempts,
       thereby breaching the written and implied warranties applicable to the subject
       vehicles.

120.   As a result of Defendants’ breaches of written and implied warranties, and
       Defendants’ failure to remedy the same within a reasonable time and without charge to
       Plaintiffs, Plaintiffs have suffered damages.

                          SECOND CAUSE OF ACTION
   Breach of Implied Warranty of Merchantability Pursuant to the Magnuson-Moss
         Federal Act, 15 U.S.C. §2301, et seq. and Ga. Code Ann., § 11-2-314

121.   Plaintiffs incorporate by reference all of the above paragraphs of this Complaint as
       though fully stated herein.

122.   Defendants are merchants with respect to motor vehicles.

123.   The subject vehicles were each subject to implied warranties of merchantability, as
       defined in 15 U.S.C. § 2308 and Ga. Code Ann., § 11-2-314, running from the
       Defendants to the Plaintiffs.

124.   An implied warranty that the subject vehicles were merchantable arose by operation of
       law as part of the purchase of the subject vehicles.

125.   Defendants breached the implied warranty of merchantability in that the subject
       vehicles were not in merchantable condition when the Plaintiffs purchased them, or at
       any time thereafter, and the subject vehicles are unfit for the ordinary purposes for
       which such vehicles are used.

126.   Plaintiffs notified Defendants of the defects in the subject vehicles within a reasonable
       time after Plaintiffs discovered them.

127.   As a result of Defendants’ breaches of the implied warranty of merchantability,
       Plaintiffs have suffered damages, including but not limited to incidental and
       consequential damages.


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                            THIRD CAUSE OF ACTION
             Breach of Express Warranty Under Ga. Code Ann., § 11-2-313

128.   Plaintiffs incorporate by reference all of the above paragraphs of this Complaint as
       though fully stated herein.

129.   In connection with the sale of the subject vehicles to the Plaintiffs, Defendants
       provided the Plaintiffs with a New Vehicle Limited Warranty and Certified Pre-
       Owned Warranty, under which they agreed to repair original components found to be
       defective in material or workmanship under normal use and maintenance, including
       the engine and its components.

130.   Plaintiffs relied on Defendant’s warranties when they agreed to purchase or lease the
       Class Vehicles and Defendant’s warranties were part of the basis of the bargain.

131.   Plaintiffs submitted their vehicles for warranty repairs as referenced herein.
       Defendants failed to comply with the terms of the express written warranty provided
       to each Plaintiff, by failing and/or refusing to repair the oil consumption defect under
       the vehicles’ warranty as described herein.

132.   Plaintiffs have given Defendants reasonable opportunities to cure said defect, but
       Defendants have been unable and/or has refused to do so within a reasonable time.

133.   As a result of said nonconformities, Plaintiffs cannot reasonably rely on the subject
       vehicles for the ordinary purpose of safe, comfortable, and efficient transportation.

134.   The Plaintiffs could not reasonably have discovered said nonconformities with the
       subject vehicles prior to Plaintiffs’ acceptance of the subject vehicles.

135.   The Plaintiffs would not have purchased or leased the subject vehicles, or would have
       paid less for the subject vehicles, had they known, prior to their respective time of
       purchase or lease, that the subject vehicles contained the oil consumption defect.

136.   As a direct and proximate result of the willful failure of Defendants to comply with
       their obligations under the express warranties, Plaintiffs have suffered actual and
       consequential damages. Such damages include, but are not limited to, the loss of the
       use and enjoyment of their vehicles, and a diminution in the value of the subject
       vehicles containing the defects identified herein.

                              FOURTH CAUSE OF ACTION
                               Unlawful Acts and Practices
                                Ga. Code Ann., § 10-1-393

137.   The Plaintiffs incorporate by reference all of the above paragraphs of this Complaint
       as though fully stated herein.

138.   The sale of the subject vehicles to the Plaintiffs under the guise that they were free
       from defects that would substantially impair the use, safety, or value of the subject

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       vehicles represents an unlawful or deceptive trade practice under Ga. Code Ann., § 10-
       1-393, et seq.

139.   The Defendants’ failure and refusal to repair the subject vehicles is unfair and
       deceptive practice.

140.   Further, the Defendants violated Ga. Code Ann., § 10-1-393, et seq. in one or more of
       the following ways:

          a. Making of fraudulent and/or negligent representations, as herein before
             alleged;

          b. Representing the subject vehicles to be of good, merchantable quality, free of
             defects, when in fact they were not; and

          c. Failing to reveal material facts including, but not limited to, the nature of the
             nonconformities and defects complained of herein,

141.   The Defendants are in the business of selling private automobiles and therefore the
       violations are likely to affect the general public, now and in the future.

142.   The Defendants violated the law willfully and knowingly.

                                 DEMAND FOR RELIEF

       WHEREFORE, the Plaintiffs demand judgment against Defendants as follows:

              a. An order approving revocation of acceptance of the subject vehicles;

              b. Money damages, in the form of a refund of the full contract prices,
                 including, trade-in allowance, taxes, fees, insurance premiums, interest, and
                 costs, and a refund of all payments made by Plaintiffs on the subject
                 contracts;

              c. Equitable relief including, but not limited to, replacement of the subject
                 vehicles with new vehicles, or repair of the defective subject vehicles with
                 an extension of the express and implied warranties, and service contracts
                 which are or were applicable to the subject vehicles, in the event that
                 Plaintiffs are not found to be entitled to revocation;

              d. Incidental and consequential damages;

              e. Punitive damages;

              f. Reasonable attorney’s fees;

              g. Such other and further relief as this Court deems just and proper.



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                 TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: November 9, 2018

                                   Respectfully submitted,

                             By:   /s/ Sergei Lemberg
                                    Sergei Lemberg, Esq.
                                    LEMBERG LAW, L.L.C.
                                    43 Danbury Road
                                    Wilton, CT 06897
                                    Telephone: (203) 653-2250
                                    Facsimile: (203) 653-3424
                                    Attorneys for Plaintiffs




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